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                                        9 Med.L.Rptr. 2255
                                      Overstreet v. Neighbor
              Florida Circuit Court, Thirteenth Judicial Circuit, Hillsborough County
                                                         No. 79-7800

                                                    September 13, 1983

   JOEL P. OVERSTREET, et al., v. THE NEIGHBOR, et al.

   Headnotes

   REGULATION OF MEDIA CONTENT
   Defamation—Protection of sources (▸11.50)

   NEWSGATHERING
   Forced disclosure of information—Disclosure of sources—In civil actions (▸60.011)

   Libel plaintiffs who seek disclosure of newspaper's confidential sources for
                                                                                              Page 2256
   allegedly libelous article but who have not demonstrated that they have exhausted all alternative means of
   obtaining such information have failed to overcome newspaper's qualified privilege against disclosing sources'
   identities.

   Case History and Disposition
   Libel plaintiffs file motion to compel newspaper's disclosure of confidential sources.

   Motion to compel denied.
   Attorneys
   Robert F. McKee, of Frank & Kelly, Tampa, Fla., for plaintiffs.

   Gregg D. Thomas and Steven L. Brannock, of Holland & Knight, Tampa, for defendants.

   Opinion Text

   Opinion By:
   Cheatwood, J.:
   Full Text of Order
   This is a civil action in defamation. Plaintiffs, one hundred and seventeen employees of Hillsborough County
   Emergency Medical Services (“EMS”) complain of an allegedly libelous article (the “Article”) published by
   defendants in a weekly newspaper known as The Neighbor. Plaintiffs have moved for an order which would comple
   the publisher of The Neighbor to disclose the identity of certain confidential sources who provided the information
   that was the basis for the Article. Upon reviewing the motion to compel, supporting and opposing memoranda, and
   having heard arguments of counsel, the Court is of the opinion that the defendants have a qualified privilege
   protecting the identity of their sources and that plaintiffs have not yet demonstrated the necessary predicates to
   overcome that privilege.

   A motion to compel the disclosure of a newspaper's confidential informants impacts upon important First
   Amendment concerns, Morgan v. State, 337 So.2d 951 [1 Med.L.Rptr. 2589] (Fla. 1976), that must be balanced
   against the rights of the parties to full and fair discovery under the Florida Rules of Civil Procedure. Gadsden
   County Times, Inc. v. Horne, 426 So.2d 1234 [9 Med.L.Rptr. 1290] (Fla. 1st DCA 1983). Both Florida and federal
   courts have struck this balance by requiring those who seek the identity of confidential sources to first
   demonstrate that:

               (1) The information sought is relevant;

               (2) There is a compelling need for that information; and




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               (3) All alternative sources for discovering the information have been exhausted.

   Gadsden County Times, Inc., 426 So.2d at 1241; Miller v. Transamerica Press, Inc., 621 F.2d 721 [6 Med.L.Rptr.
   1598] (5th Cir. 1980), petition for rehearing en banc denied, 628 F.2d 932, cert. denied, 450 U.S. 1041 (1981).

   Plaintiffs have not yet demonstrated that they have exhausted all alternative sources for discovering the identity of
   defendants' confidential sources. Defendants' answers to plaintiffs' second interrogatories reveal that all of the
   sources for the Article were EMS employees or their relatives. Yet, plaintiffs have deposed no EMS employees to
   discover the identity of those sources; indeed, plaintiffs have not even asserted that they have attempted to
   interview all EMS employees in this regard (including the 117 employees who are plaintiffs in this case). Until such
   avenues of information are fully explored, the motion to compel is premature. Gadsden County Times, Inc., 426
   So.2d at 1242; Florida v. Petrantoni, 4 Med.L.Rptr. 1554 (Fla. 6th Cir. 1978).

   Plaintiffs have failed to overcome defendants' qualified privilege protecting the identity of their confidential
   sources. Accordingly, it is hereby ORDERED AND ADJUDGED that plaintiffs' motion to compel is DENIED. The
   denial is without prejudice to plaintiffs' right to renew their motion to compel at any time they feel they can
   demonstrate the predicates for overcoming defendants' qualified privilege.
                                                      - End of Case -



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